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United States of Amez‘ica )
V. )
Karma Lizett JUAREZ (1993/us) § CZ‘S€ NO~ M‘ l$‘ 22 /O ‘/(/\
)
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)
Defendam(s)
CRIMINAL COMPLAINT
I, the complainant in this case, State that the fsllowing is true to the best of my knowledge and belief
Gn or about the date($) of OC\`.ObEI' 28, 2918 in the COL‘§H€§I O§ Hidafgo in the
Southem District of Texas , the defendant($} violatec§:
Cocz’e Secz‘z'on ‘ O]j”ense Descrip!io§z
21 USC § 841 Possess§on With intent to Distribute a Contro§|ed Substance l Approximately

4.44 Kiiograms of Methamphetamine, a Scheduie lt Controi§ecf Substance.

21 USC § 952 !i!egal importation of a Contro||ed Substance f A;)proximate£y 4.44 Ki|ograms
of Methamphetamine, a Scheduie l! Controi!ed Substance.

This crim'§;§a§ complaint is based on these facts:

See Attachment "A"

if Conti;§ued on the attached shee€.

M/%\

C'omplaz`nmzt ’s sig?/§atz§re

Nicho|as C. Stott, HS! Speciat Agent
Prinred name and title

chm 150 before me and Signed in my presencé.

D€t'£€j M___ %:ZLQ"" /Z¢;M

§udge ’s signature

 

 

C§ty and grat@; |Vch!ien, Texas U.S. Magistrate Judge Peter Ormsby

Prim‘ed name amf title

 

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Attachment “A”

l, Nicholas C. Stott, am a Special Agent of the United States Homeland Security Investigations
(HSI), and have knowledge of the following facts:

l.

On October 28, 2018, Homeland Security Investigations in McAllen, TeXas, (HSI McAllen)
received a request for investigative assistance from the U.S. Customs and Border Protection
Office ofField Operations at the Hidalgo Port of Entry (POE) in Hidalgo, TeXas. CBP Ochers
(CBPOS) detained Karina Lizett JUAREZ (hereafter JUAREZ), a citizen of the United States,
while attempting to enter the U.S. with approximately 4.44 kilograms (kg) of
methamphetamine concealed within two (2) child booster seats in the rear seat the 2006
Chrysler mini-van which she was driving. JUAREZ was accompanied by her two juvenile
sons, ages four (4) and five (5), who were seated in the booster seats.

During primary inbound inspection, CBP Ofticers (CBPOs) obtained a negative oral
declaration for fruits, food, alcohol, tobacco, drugs, weapons and currency over 310,000.00.
CBPOS referred JUAREZ and the vehicle to secondary inspection for an intensive examination
due to a computer lookout.

During secondary inspection, a CBP K-9 drug detection team conducted a free air inspection
which resulted in a positive alert for the odor of controlled substance(s) emanating from the
vehicle.

CBPOs conducted a non-intrusive X-Ray inspection and discovered anomalies in the rear seat
area of the vehicle,

A physical search of the vehicle revealed a total of four (4) tape wrapped bundles concealed
within the two (2) booster seats, which the children were seated in. CBPOS weighed the four
bundles, which weighed approximately 4.44 kg on a calibrated scale. CBPOS field tested the
substance inside the bundles, with a presumptive positive result for the characteristics of
methamphetamine

HSI Special Agents responded to the Hidalgo POE to assist in the investigation HSI Special
Agents interviewed JUAREZ, who denied knowledge of the methamphetamine concealed
within the booster seats. However, JUAREZ gave inconsistent statements regarding her travel
itinerary and knowledge of the smuggling event. JUAREZ admitted to a previous smuggling
event on or about October 25, 2018 where she smuggled drugs into the United States concealed
within child booster seats, again with her children present. JUAREZ stated on that occasion,
she transported $800.00 USD back to Mexico.

